     Case 2:12-cr-06053-EFS      ECF No. 752     filed 08/12/13    PageID.2770 Page 1 of 1




 1                           UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
 3
 4 UNITED STATES OF AMERICA,                         No. CR-12-6053-EFS-12
 5                      Plaintiff,                   ORDER GRANTING DEFENDANT’S

 6 vs.                                               MOTION TO MODIFY RELEASE

 7                                                   CONDITIONS

 8 MARINELA VILLANUEVA,                              ☒      Motion Granted

 9                                                          (ECF No. 742)

10                      Defendant.
11
     Date of Motion hearing: 08/12/2013
12
13      Before    the    court    is    Defendant’s      Motion      to     Modify    Release

14   Conditions.    The    Government      was     represented        by    Alex     Ekstrom.
15   Defendant was present with counsel, Troy Lee.
16
         The     Defendant       requested     that      GPS      monitoring       and   home
17
     confinement    be    removed      from    the    conditions       of    release.     The
18
     Government and U.S. Probation did not object.
19
20       The Court GRANTED Defendant’s motion and removed the GPS

21   monitoring     and      home      confinement       requirements.          All      other
22   conditions set forth in the Order Granting Motion and Setting
23
     Conditions of Release (Ct. Rec. 221) remain in full effect.
24
     DATED: August 12, 2013
25
26
                                  s/James P. Hutton
27                                 JAMES P. HUTTON
                           UNITED STATES MAGISTRATE JUDGE
28
     ORDER GRANTING MOTION TO MODIFY
